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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

    NORGUARD INSURANCE                      )
    COMPANY,                                )
                                            )
                   Plaintiff,               )
                                            )      CIVIL ACTION FILE NO.
    v.                                      )         1:24-cv-03586-SDG
                                            )
    JASON S. MCKINZIE, JR.,                 )
    JEFFERY S. HARR, JILL E.                )
    HARR, DOH, INC., JOHNNY’S               )
    PIZZA, INC., and JOHNNY’S               )
    PIZZA FRANCHISE SYSTEM,                 )
    INC.,                                   )
                                            )
                   Defendants.              )
                                            )

                          BRIEF IN SUPPORT OF
             PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

MAY IT PLEASE THE COURT:

         NOW INTO COURT, through undersigned counsel, comes Plaintiff,

NORGUARD INSURANCE COMPANY, who submits this Memorandum in

Support of Plaintiff’s Motion for Summary Judgment and further represents:

                         I.     FACTUAL BACKGROUND

         This civil action is a declaratory judgment action arising from a motor vehicle

accident that occurred on September 2, 2023, after Defendant, Jeffery S. Harr,

departed Defendant, DOH, Inc.’s premises located at 7363 Spout Springs Road,



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Flowery Branch, Georgia 30542 (the “Premises”). Defendant DOH, Inc. operates a

restaurant named Johnny’s New York Style Pizza at said Premises. Further, DOH,

Inc. holds Georgia Alcohol License Number 0145257, which authorizes same to

operate a full-service restaurant with beer, wine, and liquor sales at same Premises.

      DOH, Inc. was incorporated as a domestic for-profit corporation on October

26, 2015, by Defendants, Jeffery S. Harr and Jill E. Harr. Since at least January 27,

2017, Defendant, Jill E. Harr, has been listed as the Registered Agent, CEO, CFO,

and Secretary of DOH, Inc. Defendants both reside together at 3571 Haddon Hall

Drive, Buford, Georgia 30519-7304.

      On September 1, 2023, Defendant, Jeffery S. Harr, allegedly imbibed

alcoholic beverages at the Premises to the point of intoxication. When Defendant,

Jeffery S. Harr, was asked to admit or deny that he served himself one or more of

said alcoholic beverages on September 1, 2023, and September 2, 2023, respectively,

he invoked his Fifth Amendment right against self-incrimination. Further, when

asked to admit or deny that he had imbibed more than two alcoholic beverages in

the twenty-four (24) hours preceding the accident, he again invoked his right against

self-incrimination. Further, when asked to admit or deny that he did not provide

monetary compensation to Johnny’s New York Style Pizza for said alcoholic

beverages, he again invoked his right against self-incrimination.




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        On September 2, 2023, between 12:20 and 12:25 a.m., Defendant, Jeffery S.

Harr, departed the Premises to return to the home he shares with Defendant, Jill E.

Harr. Mr. Harr departed the Premises operating a Blue 2005 Ford Escape, VIN:

1FMCU93115KA16340, owned by Mrs. Harr. Said vehicle was listed as an owned

auto scheduled in and insured by USAA Policy Number 015728612C071.

        At approximately 12:34 a.m., while en route to his home, Mr. Harr was

traveling eastbound on Tuggle Road in Gwinnett County, Georgia, when he

allegedly crossed the centerline and collided with a motorized cart driven by

Defendant, Jason S. McKinzie, Jr. (the “Underlying Accident”).

        On October 12, 2023, Defendant, Jason S. McKinzie, Jr. filed his Complaint

for Damages in Gwinnett County, Georgia, which was assigned Docket No. 23-C-

0757-S3 (the “Underlying Lawsuit”). [See Exh. 2, R. Doc. 1, Exh. “A.”] Said

Complaint initially named (2) parties-defendant: (1) Jeffery S. Harr, and (2) Jill E.

Harr.

        On or about October 31, 2023, Plaintiff, NorGUARD Insurance Company, as

the alleged insurer of DOH, Inc. received notice of the Underlying Lawsuit along

with a policy-limits-demand from Defendant, Jason S. McKinzie. [See Exh. 2, R.

Doc. 1, Exh. “E.”] Despite this demand being styled as a pre-suit demand, it was in

fact transmitted after the filing of the Underlying Lawsuit by Mr. McKinzie.

Regardless, it is undisputed that NorGUARD Insurance Company issued a



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commercial Businessowner’s Policy of insurance to the Named Insured, DOH, Inc.,

bearing Policy Number DOBP412038, Policy Period January 5, 2023, to January 5,

2024 (the “NorGUARD Policy”). [See Exh. 2,R. Doc. 1, Exh. “C.”] The Underlying

Lawsuit alleges that the NorGUARD Policy provides insurance coverage for Jason

S. McKinzie, Jr.’s alleged injuries sustained in the Underlying Accident.

      On December 20, 2023, a First Amended Complaint for Damages was filed

naming five (5) parties-defendants: (1) Jeffery S. Harr, (2) Jill E. Harr, (3) DOH,

Inc., (4) Johnny’s Pizza, Inc., and (5) Johnny’s Pizza Franchise System, Inc. [See

Exh. 2, R. Doc. 1, Exh. “B.”] However, on February 22, 2024, Defendants, Johnny’s

Pizza, Inc., and Johnny’s Pizza Franchise System, Inc., were dismissed from the

Underlying Lawsuit. In said Complaint, Mr. McKinzie styles “Jeffery S. Harr” as

the “Defendant Driver,” Jill E. Harr as the “Defendant Owner,” and DOH, Inc., as

“Defendant DOH.” [Id. at pp. 2-3.]

      On February 23, 2024, NorGUARD issued a Reservation of Rights letter to

Jeffery Scott Harr, Jill E. Harr, and DOH, Inc. DBA/TA Johnny’s NY Style Pizza &

Subs on February 23, 2024, asserting that the Policy may not provide coverage for

the claims and/or damages asserted by Jason S. McKinzie, Jr. in the underlying

lawsuit pursuant to certain nonexclusive terms, provisions, conditions, exclusions or

endorsements. [See Exh. 2, R. Doc. 1, Exh. “D.”] Then, on July 18, 2024, Norgard




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issued an amended Reservation of Rights letter outlining additional reasons for

alleged noncoverage for the Underlying Accident. [See Exh. 2, R. Doc. 1, Exh. “F.”]

      On August 13, 2024, Plaintiff filed the instant Complaint for Declaratory

Relief. [See Exh. 2, R. Doc. 1.] The following parties were initially named as

defendants: (1) Jason S. McKenzie, Jr., (2) Jeffery S. Harr, (3) Jill E. Harr, (4) DOH,

Inc., (5) Johnny’s Pizza, Inc., and (6) Johnny’s Pizza Franchise System, Inc. Id. On

October 31, 2024, Plaintiff moved to voluntarily dismiss Defendants, Johnny’s

Pizza, Inc. and Johnny’s Pizza Franchise System, Inc., the order for which was

granted on November 1, 2024. [R. Docs. 32, 35.] The Underlying Lawsuit is still

pending and remains unresolved.

      On December 10, 2024, Defendant, Jason S. McKinzie, Jr. filed a Motion for

Judgment on the Pleadings. [R. Doc. 44.] On December 23, 2024, Plaintiff filed its

Memorandum in Opposition to same. [R. Doc. 45.] On December 24, 2024,

Defendants, Jeffery S. Harr, Jill E. Harr, and DOH, Inc. filed their Notice of Joining

of said Motion. [R. Doc. 46.] On January 6, 2024, Defendant, Jason S. McKinzie,

Jr. filed his memorandum in Reply in Support of said Motion. [R. Doc. 47.] The

Motion was submitted to the court on January 21, 2025.




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II.    MATERIAL FACTS NOT IN DISPUTE

       Plaintiff represents that the following facts are not genuinely disputed:

1)     On October 26, 2015, Defendants, Jeffery S. Harr and Jill E. Harr,
       incorporated Defendant, DOH, Inc. as a domestic for-profit corporation in the
       State of Georgia. [Exh. 6(A).]

2)     As of January 5, 2023, Defendant, Jill E. Harr, was listed as the Registered
       Agent of DOH, Inc. and was listed as its CEO, CFO, and Secretary. [Exh.
       6(J).]

3)     As of May 6, 2022, Defendant, DOH, Inc. operated a business named
       Johnny’s New York Style Pizza (“Johnny’s Pizza”) at 7363 Spout Springs
       Road, Suite 204, Flowery Branch, Georga 30542-5563 (the “Premises”). [See
       Exh. 7.]

4)     As of May 14, 2024, Defendant, DOH, Inc. continued to operate Johnny’s
       Pizza at the Premises. [See Exh. 8.]

5)     DOH, Inc. holds Georgia Alcohol License Number 0145257, which
       authorizes same to operate a full-service restaurant with beer, wine, and liquor
       sales at same Premises. [See Exh. 9.]

6)     Defendants both reside together at 3571 Haddon Hall Drive, Buford, Georgia
       30519-7304. [See Exh. 2(F), p. 258 of 277; Exh. 4(A); Exh. 6(F-L).]

7)     On September 2, 2023, between 12:20 and 12:25 a.m., Defendant, Jeffery S.
       Harr, departed the Premises. [See Exh. 3, Resp. to Interrog. No. 9.]

8)     Defendant, Jeffery S. Harr, departed the Premises in a 2005 Ford Escape, VIN:
       1FMCU93115KA16340, an automobile titled in Georgia in Defendant, Jill E.
       Harr’s, individual name (the “Subject Vehicle”). [See Exh. 5, Resp. to Req.
       for Admis. No. 7.]

9)     Defendant, Jeffery S. Harr, had permission to operate the Subject Vehicle.
       [See Exh. 5, Resp. to Req. for Admis. No. 9.]

10)    The Subject Vehicle was listed as an owned auto scheduled in and insured by
       USAA Policy Number 015728612C071. [See Exh. 4, Resps. to Reqs. for
       Produc. of Docs. 1-2, 4; see also Exh. 4(A); see also Exh. 2(A-B).]


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11)    Defendant, Jeffery S. Harr’s, destination after departing the Premises in the
       Subject Vehicle was his residence. [See Exh. 3, Resp. to Interrog. No. 10; see
       also Exh. 5, Resp. to Req. for Admis. No. 18.]

12)    At approximately 12:34 a.m., while en route to his home, Mr. Harr was
       traveling eastbound on Tuggle Road in Gwinnett County, Georgia. [See Exh.
       3, Resp. to Interrog. No. 10; see also Exh. 5, Resp. to Req. for Admis. No. 18;
       see also Exh. 2(E); R. Doc. 1, pp. 258-267 of 277.]

13)    On September 2, 2023, at approximately 12:34 a.m., Jason S. McKinzie, Jr.
       was operating a motorized cart west on Tuggle Road in Gwinnett County,
       Georgia. [Exh. 2(E); R. Doc. 1, pp. 258-267 of 277.]

14)    On September 2, 2023, at approximately 12:34 a.m., the Subject Vehicle
       operated by Defendant, Jeffery S. Harr, crossed the centerline and entered the
       westbound lane of Tuggle Road while continuing to travel east. [Id.]

15)    On September 2, 2023, at approximately 12:34 a.m., the Subject Vehicle
       operated by Defendant, Jeffery S. Harr, collided with Defendant, Jason S.
       McKinzie, Jr.’s motorized cart in the westbound lane of Tuggle Road (the
       “Underlying Accident”). [Id.]

16)    In connection with the incident that forms the basis of this action, Defendant,
       Jason S. McKinzie, Jr. was cited for (1) driving under the influence, (2)
       operating an unsafe motor vehicle and (3) driving on a suspended license. [Id.
       at p. 264 of 277.]

17)    In connection with the incident that forms the basis of this action, Jeffery S.
       Harr was cited for (1) driving under the influence, in violation of O.C.G.A. §
       40-6-391 and (2) failure to maintain lane, in violation of O.C.G.A. § 40-6-48.
       [Exh. 2(E); R. Doc. 1, pp. 263-264 of 277.]

18)    Immediately prior to the incident that forms the basis of this action,
       Defendant, Jeffery S. Harr, allegedly consumed alcohol beverages to the point
       of intoxication at the Premises. [See Exh. 2(A) at ¶ 20.]

19)    When asked to “Admit or deny that the Defendant, JEFFERY S. HARR,
       served himself one or more alcoholic beverages on September 1, 2023,” said
       Defendant invoked his right against self-incrimination pursuant to the Fifth
       Amendment to the United States Constitution; Article I, Section I, Paragraph



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       XVI of the Georgia Constitution; and O.C.G.A.§ 24-5-505(a), 24-5-506(a).
       [Exh. 5, Resp. to Req. for Admis. No. 13.]

20)    When asked to “Admit or deny that the Defendant’s, JEFFERY S. HARR, did
       not provide monetary compensation to the restaurant operated by Defendant,
       DOH, INC. for the alcoholic beverages referenced in Request for Admission
       No. 13,” said Defendant invoked his right against self-incrimination pursuant
       to the Fifth Amendment to the United States Constitution; Article I, Section
       I, Paragraph XVI of the Georgia Constitution; and O.C.G.A.§ 24-5-505(a),
       24-5-506(a). [Exh. 5, Resp. to Req. for Admis. No. 14.]

21)    When asked to “Admit or deny that the Defendant’s, JEFFERY S. HARR,
       served himself one or more alcoholic beverages on September 2, 2023,” said
       Defendant invoked his right against self-incrimination pursuant to the Fifth
       Amendment to the United States Constitution; Article I, Section I, Paragraph
       XVI of the Georgia Constitution; and O.C.G.A.§ 24-5-505(a), 24-5-506(a).
       [Exh. 5, Resp. to Req. for Admis. No. 15.]

22)    When asked to “Admit or deny that the Defendant, JEFFERY S. HARR,
       imbibed more than two (2) alcoholic beverages within the twenty-four (24)
       preceding the accident at issue in this litigation,” said Defendant invoked his
       right against self-incrimination pursuant to the Fifth Amendment to the United
       States Constitution; Article I, Section I, Paragraph XVI of the Georgia
       Constitution; and O.C.G.A.§ 24-5-505(a), 24-5-506(a). [Exh. 5, Resp. to Req.
       for Admis. No. 17.]

23)    Jason S. McKinzie, Jr. filed a Complaint for Damages in the State Court of
       Gwinnett County, State of Georgia, Civil Action File No.: 23-C-07575-S3
       against Defendant Jeffery S. Harr and Defendant Jill E. Harr. [See Exh. 2(A);
       R. Doc. 1, pp. 24-33 of 277.]

24)    Jason S. McKinzie, Jr. filed a First Amended Complaint for Damages in the
       State Court of Gwinnett County, State of Georgia, Civil Action File No.: 23-
       C-07575-S3 against Jeffery S. Harr, Defendant Jill E. Harr, Defendants DOH,
       Inc., Johnny’s Pizza, Inc., and Johnny’s Pizza Franchise Systems, Inc. [See
       Exh. 2(B); R. Doc. 1, pp. 34-48 of 277.]

25)    NorGUARD issued an insurance policy to the named insured, DOH, Inc.,
       bearing policy number DOBP412038 and effective dates of January 5, 2023,
       to January 5, 2024. [Id. at p. 7 of 277.]



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26)    NorGUARD issued a Reservation of Rights letter to Jeffery Scott Harr and Jill
       E. Harr, DOH Inc. DBA/TA Johnny’s NY Style Pizza & Subs on February
       23, 2024, asserting that the Policy may not provide coverage for the claims
       and/or damages asserted by Jason S. McKinzie, Jr. in the underlying lawsuit
       pursuant to certain nonexclusive terms, provisions, conditions, exclusions or
       endorsements. [See Exh. 2(D); R. Doc. 1, p. 7 of 277.]

27)    Defendant, Jeffery S. Harr, received the NorGUARD Reservation of Rights
       letter. [See Exh. 5, Resp. to Req. for Admis. No. 1.]

28)    Defendant, Jill E. Harr, received the NorGUARD Reservation of Rights letter.
       [See Exh. 5, Resp. to Req. for Admis. No. 2.]

29)    Defendant, DOH, Inc., received the NorGUARD Reservation of Rights letter.
       [See Exh. 5, Resp. to Req. for Admis. No. 3.]

30)    On October 31, 2023, counsel for Jason S. McKinzie, Jr. made a demand for
       payment of policy limits against NorGUARD, alleging that the NorGUARD
       Policy provided insurance coverage for the incident. [See Exh. 2(E); R. Doc.
       1, p. 7 of 277.]

31)    On July 18, 2024, NorGUARD issued an amended reservation of rights letter
       to Jeffery Scott Harr and Jill E. Harr, DOH Inc. DBA/TA Johnny’s NY Style
       Pizza & Subs outlining additional policy language which would support a
       finding of no coverage for the incident and reserving the right to seek a judicial
       determination of the coverage issue. [Id.]

32)    Defendant, Jeffery S. Harr, received the NorGUARD amended reservation of
       rights letter. [See Exh. 5, Resp. to Req. for Admis. No. 4.]

33)    Defendant, Jill E. Harr, received the NorGUARD amended reservation of
       rights letter. [See Exh. 5, Resp. to Req. for Admis. No. 5.]

34)    Defendant, DOH, Inc. received the NorGUARD amended reservation of
       rights letter. [See Exh. 5, Resp. to Req. for Admis. No. 6.]

35)    On July 18, 2024, NorGUARD issued a letter declining to accept McKinzie’s
       demand on the basis that the NorGUARD Policy does not provide insurance
       coverage pursuant to the clear and unambiguous policy language, set forth in
       more detail, below. [See Exh. 2(G); R. Doc. 1, pp. 7-8 of 277.]




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III.    LAW AND ARGUMENT

        A. Summary Judgment Standard

        The second sentence of Rule 56(a) sets out the standard governing summary

judgment. It states that “the court shall grant summary judgment if the movant

shows that there is no genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.” See § 2725 Grounds for Summary

Judgment—In General, 10A Fed. Prac. & Proc. Civ. § 2725 (4th ed.).

        Under Rule 56(c), summary judgment is proper “if the pleadings,
        depositions, answers to interrogatories, and admissions on file, together
        with the affidavits, if any, show that there is no genuine issue as to any
        material fact and that the moving party is entitled to a judgment as a
        matter of law.” In [the Supreme Court’s] view, the plain language of
        Rule 56(c) mandates the entry of summary judgment, after adequate
        time for discovery and upon motion, against a party who fails to make
        a showing sufficient to establish the existence of an element essential
        to that party’s case, and on which that party will bear the burden of
        proof at trial. In such a situation, there can be “no genuine issue as to
        any material fact,” since a complete failure of proof concerning an
        essential element of the nonmoving party’s case necessarily renders all
        other facts immaterial. The moving party is “entitled to a judgment as
        a matter of law” because the nonmoving party has failed to make a
        sufficient showing on an essential element of her case with respect to
        which she has the burden of proof. “[T]h[e] standard [for granting
        summary judgment] mirrors the standard for a directed verdict under
        Federal Rule of Civil Procedure 50(a)....” Anderson v. Liberty Lobby,
        Inc., 477 U.S. 242, 250, 106 S.Ct. 2505, 2511, 91 L.Ed.2d 202 (1986).

Celotex Corp. v. Catrett, 477 U.S. 317, 322–23, 106 S. Ct. 2548, 2552–53, 91 L. Ed.

2d 265 (1986).

        The plain language of Rule 56(c) mandates the entry of summary
        judgment, after adequate time for discovery and upon motion, against

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      a party who fails to make a showing sufficient to establish the existence
      of an element essential to that party’s case, and on which that party will
      bear the burden of proof at trial. In such a situation, there can be “no
      genuine issue as to any material fact,” since a complete failure of proof
      concerning an essential element of the nonmoving party’s case
      necessarily renders all other facts immaterial. The moving party is
      “entitled to a judgment as a matter of law” because the nonmoving party
      has failed to make a sufficient showing on an essential element of its
      case with respect to which it has the burden of proof.

Celotex Corp. v. Catrett, 477 U.S. 317, 317–18, 106 S. Ct. 2548, 2550, 91 L. Ed. 2d

265 (1986) (internal citations omitted); see also First National Bank of Arizona v.

Cities Service Co., 391 U.S. 253, 289, 88 S.Ct. 1575, 1592, 20 L.Ed.2d 569 (1968).

      Accordingly, as discussed below, there is no genuine issue of material fact

that no coverage is afforded to both Mr. and Mrs. Harr and DOH for the Underlying

Accident?

      B. Limitation of Coverage to Hired Auto & Non-Owned Auto Liability
         Endorsement: Section A.1. Hired Auto Liability Excludes Coverage
         for Subject Vehicle.

      First, the Subject Vehicle is not afforded coverage for the Underlying

Accident under the NorGUARD Policy because Mr. Harr operated a vehicle not

owned by DOH, Inc. but owned by Mrs. Harr, an officer of DOH, Inc. and not

otherwise being utilized in the furtherance of DOH, Inc.’s business or affairs.

      In COUNT I of the First Amended Complaint for Damages in the Underlying

Lawsuit, Jason S. McKenzie, Jr., plaintiff therein, alleged that Jeffery S. Harr was

individually negligent. [See Exh. 2(A); R. Doc. 1, pp. 38-39 of 277.] Then, in



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COUNT II of said First Amended Complaint, Mr. McKenzie alleged that Mr. Harr

is jointly liable with Jill E. Harr based upon the Georgia Family Purpose Doctrine,

i.e., that (1) the Jill E. Harr gave permission to Jeffery S. Harr to drive the Subject

Vehicle; (2) Mrs. Harr relinquished control of said vehicle to Mr. Harr; (3) that Mr.

Harr was in said vehicle at the time of the Underlying Accident; and (4) said vehicle

was being operated for a family purpose. [See Exh. 2(A); R. Doc. 1, pp. 39-40 of

277; see also Yim v. Carr, 349 Ga. App. 892, 895, 827 S.E.2d 685, 689 (2019).]

      The NorGUARD Policy contains the following endorsement, which provides

in pertinent part:

             HIRED AUTO AND NON-OWNED AUTO LIABILITY

      This endorsement modifies insurance provided under the following:

      BUSINESSOWNERS COVERAGE FORM

      ....

      A. Insurance is provided only for those coverages for which a specific
      premium charge is shown in the Declarations or in the Schedule.

      1. Hired Auto Liability

         The insurance provided under Paragraph A.1. Business Liability in
         Section II – Liability applies to “bodily injury” or “property damage”
         arising out of the maintenance or use of a “hired auto” by you or
         your “employees” in the course of your business.

         ....

         D. The following additional definitions apply:

             ....


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             2. “Hired auto” means any “auto” you lease, hire, rent or borrow.
             This does not include any “auto” you lease, hire, rent or
             borrow from any of your “employees”, your partners or your
             “executive officers” or members of their households.

[Exh. 1; see also Exh. 2(C), pp. 138-39 of 277 (emphasis added).] This endorsement

amends and supersedes any other provision of the Businessowners Coverage Form

per the plain language of the policy and per Georgia law.

      Georgia law requires insurance policies be read in pari materia.
      O.C.G.A. § 33-24-16. Therefore, the insurance policy is construed
      ‘according to the entirety of its terms and conditions as set forth in the
      policy and as amplified, extended, or modified by any rider,
      endorsement or application made a part of the policy’.’ Id. When the
      language in an endorsement or rider conflicts with the policy, the rider
      controls, B.L. Ivey Const. Co. v. Pilot Fire & Cas. Co., 295 F.Supp.
      840, 848 (N.D. Ga. 1968), and a specific provision will prevail over a
      general one, Holland v. Holland, 287 Ga. 866, 868, 700 S.E.2d 573,
      575 (Ga. 2010). It is well-established that a court should avoid
      interpreting a contract in such a way as to render portions of the
      language of the contract meaningless. ALEA London Ltd. v. Woodcock,
      286 Ga.App. 572, 576, 649 S.E.2d 740, 745 (Ga. Ct. App. 2007).

Martin v. Massachusetts Mut. Life Ins. Co., 686 Fed. Appx. 639, 643 (11th Cir.

2017).

      The Subject Vehicle driven by Mr. Harr at the time of the accident was owned

individually by Mrs. Harr. [See Exh. 5, Resp. to Req. for Admis. No. 7.] Further,

the USAA personal auto policy insuring the Subject Vehicle shows that the Subject

Vehicle was scheduled in and garaged at the mutual residence of Mr. and Mrs. Harr.

[See Exh. 4, Resps. to Reqs. for Produc. of Docs. 1-2, 4; see also Exh. 4(A); see also

Exh. 2(A-B).] These facts are consistent with Mr. McKenzie’s allegations in Counts


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I-II of the Underlying Lawsuit and on their face exclude coverage under the Section

A.1. of the Hired Auto & Non-Owned Auto Liability Endorsement. Regardless,

discovery has borne out further information that supports these allegations.

      As the definition of a hired auto specifically excludes an auto leased, hired,

rented, or borrowed from an employee, partner, or executive officer or member of

their household, and as the auto was owned by Mrs. Harr, an executive officer of the

named insured, DOH, Inc., it does not qualify as a hired auto under Section A.1.

Thus, it is not an auto subject to hired auto coverage under Section A.1. because it

is not an auto leased, hired, rented, or borrowed from someone other than an

employee, partner, or executive member of DOH, Inc., or member of his/her

household. Accordingly, as the Subject Vehicle was owned by Mrs. Harr and driven

by Mr. Harr, both of whom are members of the same household, Section A.1. of the

Hired Auto & Non-Owned Auto Liability Endorsement excludes coverage to the

Subject Vehicle as a “hired auto” under the NorGUARD Policy.

      C. Limitation of Coverage to Hired Auto & Non-Owned Auto Liability
         Endorsement: Section A.2. Non-Owned Auto Liability Excludes
         Coverage for Subject Vehicle.

      Second, the Subject Vehicle does not qualify as a non-owned auto for

purposes of coverage under Section A.2. The NorGUARD Policy contains the

following endorsement, which provides in pertinent part:




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             HIRED AUTO AND NON-OWNED AUTO LIABILITY

      This endorsement modifies insurance provided under the following:

      BUSINESSOWNERS COVERAGE FORM

      ....

      A. Insurance is provided only for those coverages for which a specific
      premium charge is shown in the Declarations or in the Schedule.

      ....

      2. Non-owned Auto Liability

        The insurance provided under Paragraph A.1. Business Liability in
        Section II – Liability applies to “bodily injury” or “property damage”
        arising out of the use of any “non-owned auto” in your business
        by any person.

        ....

        D. The following additional definitions apply:

             ....

             3. “Non-owned auto” means any “auto” you do not own, lease,
             hire, rent or borrow which is used in connection with your
             business. This includes “autos” owned by your “employees”,
             your partners or your “executive officers”, or members of their
             households, but only while used in your business or your
             personal affairs.
[Exh. 1; see also Exh. 2(C), pp. 138-39 of 277 (emphasis added).]

      Again, the Subject Vehicle driven by Mr. Harr at the time of the accident was

owned individually by Mrs. Harr. [See Exh. 5, Resp. to Req. for Admis. No. 7.]

Further, the USAA personal auto policy insuring the Subject Vehicle shows that the

Subject Vehicle was scheduled in and garaged at the mutual residence of Mr. and



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Mrs. Harr. [See Exh. 4, Resps. to Reqs. for Produc. of Docs. 1-2, 4; see also Exh.

4(A); see also Exh. 2(A-B).] These facts are consistent with Mr. McKenzie’s

allegations in Counts I-II of the Underlying Lawsuit, and most particularly those of

Count II that the vehicle was being used for a family purpose, and on their face

exclude coverage under the Section A.2. of the Hired Auto & Non-Owned Auto

Liability Endorsement. Regardless, discovery has borne out further information that

supports these allegations.

      A non-owned auto is afforded coverage under A.1, but “only while used in

[DOH’s] business or your personal affairs.” Further, the term “your personal affairs”

refers only to the personal affairs of the DOH. The Fourth Circuit for the United

States Court of Appeals had a rather exhaustive analysis of this term in its holding

in Pham v. Hartford Fire Ins. Co., wherein it discussed this exact policy language.

419 F.3d 286 (4th Cir. 2005). In Pham, the Fourth Circuit reasoned:

      The Broad Form Endorsement amended Part IV(D), “WHO IS
      INSURED” to add:

      4. Any employee of yours while using a covered “auto” you don't own,
      hire or borrow in your business or your personal affairs.

      Plaintiffs construe the words “in your business or personal affairs” to
      relate to the words “covered auto” and not to the use by the driver
      thereof in the “business or [ ]personal affairs” of OSP. Thus, they claim
      coverage for such an OSP employee driving his own car “as long as he
      negligently uses the covered auto and causes injuries to innocent third
      parties.” Br. p. 23.




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      We disagree. In our opinion, such is a strained construction because it
      omits the plain requirement of using the auto in the business or personal
      affairs of OSP. The plain meaning of this provision of the Broad Form
      Endorsement is clear and unambiguous. Reasonably construed, it does
      not lend itself to the interpretation of the plaintiffs. Under the Broad
      Form Endorsement, an employee is covered, even in an auto that OSP
      does not own, hire, or borrow, so long as the employee is engaged in
      OSP's business or OSP's personal affairs. By his own admission, Guerra
      was not acting on behalf of his employer at the time of the accident. In
      his deposition, Guerra testified, “They [OSP] have nothing to do with
      this. I was driving my car, after business hours, and I was driving—
      and I was drinking. It was something that happened to me when I was
      off of work.” When asked, “Did this have anything to do with your job,
      going into this bar,” Guerra answered, “No.” Guerra was driving his
      personal auto while off duty at the time of the accident. Therefore,
      Guerra is not an insured under OSP's policy with Hartford Insurance
      because he was not acting in OSP's business or OSP's personal affairs.

419 F.3d 286, 290 (4th Cir. 2005). Based upon this reasoning, the Fourth Circuit

when on to hold:

                                        III.

      We uphold the district court's finding that Guerra was not an insured
      person under the Hartford Policy because his use at the time of the
      accident did not involve the business or personal affairs of OSP. We
      are also of opinion that because Guerra was driving his own auto at the
      time of the accident, the Omnibus Statute does not apply.

Id. at 291 (4th Cir. 2005).

      In this case, the vehicle was not being used in furtherance of DOH’s business

because Mr. Harr was admittedly traveling to his home at the time of the accident

such that respondeat superior does not attach. The Georgia Supreme Court has




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established a two-part test for whether respondeat superior applies to hold an

employer liable for the actions of an agent or employee, to wit:

      “‘Two elements must be present to render a master liable [under
      respondeat superior]: first, the servant must be in furtherance of the
      master’s business; and, second, he must be acting within the scope of
      his master’s business.’” Piedmont Hospital, Inc. v. Palladino, 276 Ga.
      612, 613, 580 S.E.2d 215 (2003) (citation omitted). See also Doe v.
      Saint Joseph’s Catholic Church, 313 Ga. 558, 565, 870 S.E.2d 365
      (2022) (quoting the test set forth in Palladino); Quynn v. Hulsey, 310
      Ga. 473, 474 n.2, 850 S.E.2d 725 (2020) (“Under the doctrine of
      respondeat superior, ‘[w]hen a servant causes an injury to another, the
      test to determine if the master is liable is whether or not the servant was
      at the time of the injury acting within the scope of his employment and
      on the business of the master.’”) (quoting Hicks v. Heard, 286 Ga. 864,
      865, 692 S.E.2d 360 (2010)). In other words, the doctrine of respondeat
      superior holds an employer liable for the negligent or intentional torts
      of its employee when “ ‘the tort was done within the scope of the actual
      transaction of the [employer’s] business for accomplishing the ends of
      his employment.’” Johnson Street Properties, LLC v. Clure, 302 Ga.
      51, 55, 805 S.E.2d 60 (2017).”

      ....

      For nearly 90 years, appellate courts in Georgia have consistently held
      that an employee “acts only for h[er] own purposes”—and not for those
      of her employer—while she is going to or from work, so respondeat
      superior generally does not apply when an employee commits a tort
      during her work commute. Chattanooga Publishing Company v.
      Fulton, 215 Ga. 880, 883, 114 S.E.2d 138 (1960) (explaining that “[a]s
      a general rule, a servant in going to and from his work in an automobile
      acts only for his own purposes and not for those of his employer, and
      consequently the employer is not to be held liable for an injury
      occasioned while the servant is en route to or from his work,” and
      holding that the trial court properly granted the employer’s motion for
      judgment notwithstanding the verdict where the evidence showed that
      the employee was in an accident while driving the employer’s truck to
      work, because the employee was using the truck “for a purely personal
      mission of his own . . ., in no way connected with the business of the

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      owner, and not within the scope of his employment”) (citation and
      punctuation omitted). . . . Viau v. Fred Dean, Inc., 203 Ga. App. 801,
      802–803, 418 S.E.2d 604 (1992) (explaining the general rule that an
      employee “acts only for his own purposes” in commuting to and from
      work, and concluding that the trial court erred by denying the
      employer’s motion for summary judgment because the uncontroverted
      evidence showed that the employee was on his way home from work
      when he was involved in a collision) (citation and punctuation omitted);
      Stenger v. Mitchell, 70 Ga. App. 563, 566, 28 S.E.2d 885 (1944)
      (explaining that “[a]s a general rule, a servant in going to and from his
      work in an automobile acts only for his own purposes and not for those
      of his employer, and consequently the employer is not to be held liable
      for an injury occasioned while the servant is en route to or from his
      work,” and holding that the trial court “did not err in granting [a] motion
      for nonsuit” filed by the owners of a car dealership, because there was
      no evidence to support the plaintiff’s theory of respondeat superior
      where a salesman for the dealership caused an accident while driving a
      car owned by the dealership home from work); . . . . See also, e.g.,
      Restatement (Third) Of Agency § 7.07 cmt. (e) (2006) (“In general,
      travel required to perform work, such as travel from an employer’s
      office to a job site or from one job site to another, is within the scope
      of an employee’s employment[,] while traveling to and from work is
      not.”); Dan B. Dobbs, Paul T. Hayden, and Ellen M. Bublick, The Law
      of Torts § 428 (2d ed. 2023) (“The master is not vicariously responsible
      for the acts of a servant before work begins or after it ends. In particular,
      the going and coming rule holds that in jobs with a situs such as an
      office or factory, an employee coming to work or going home from it
      is not in employment.”). The upshot is that as a matter of law, an
      employee generally does not act in furtherance of her employer’s
      business and within the scope of her employment while she travels to
      or from her workplace. . . .

Prodigies Child Care Mgmt., LLC v. Cotton, 317 Ga. 371, 377–79, 893 S.E.2d 640,

646–48 (2023) (emphasis added).

      Because Mr. Harr was admittedly traveling from the Premises directly to his

home, respondeat superior does not apply. [See Exh. 3, Resp. to Interrog. No. 10;



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see also Exh. 5, Resp. to Req. for Admis. No. 18.] Thus, Mr. Harr was neither acting

in furtherance of DOH’s business, nor was he within the course and scope of his

employment with same, the Subject Vehicle does not qualify for coverage as a non-

owned auto under Section A.2. Accordingly, because Mr. Harr was admittedly

traveling from the Premises directly to his home, respondeat superior does not apply

such that Section A.2. of the Hired Auto & Non-Owned Auto Liability Endorsement

excludes coverage to the Subject Vehicle as a “non-owned” under the NorGUARD

Policy.

      D. Limitation of Coverage to Hired Auto & Non-Owned Auto Liability
         Endorsement: Section B.2.2.b. “Who Is An Insured” Excludes
         Coverage for Jeffery S. Harr.

      Third, Defendant, Jeffery S. Harr, does not qualify as an “Insured” under

Section B.2. of the Hired Auto and Non-Owned Auto Liability Endorsement because

Mr. Harr is a partner or executive officer of DOH operating a vehicle owned by Mrs.

Harr, a member of his household. The NorGUARD Policy contains the following

endorsement, which provides in pertinent part:

             HIRED AUTO AND NON-OWNED AUTO LIABILITY

      This endorsement modifies insurance provided under the following:

      BUSINESSOWNERS COVERAGE FORM

      ....

      B. For insurance provided by this endorsement only:

      ....


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         2. Paragraph C. Who Is An Insured in Section II – Liability is
            replaced by the following:

             1. Each of the following is an insured under this endorsement to
                the extent set forth below:

                      a. You;

                      b. Any other person using a “hired auto” with your
                      permission;

                      c. For a “non-owned auto”:

                         (1) Any partner or “executive officer” of yours; or

                         (2) Any “employee” of yours; but only while such
                         “non-owned auto” is being used in your business; and

                d. Any other person or organization, but only for their liability
                because of acts or omissions of an insured under a., b. or c.
                above.

                2. None of the following is an insured:

                ....

                      b. Any partner or “executive officer” for any “auto”
                      owned by such partner or officer or a member of his or
                      her household . . . .

[Exh. 1; see also Exh. 2(C), pp. 138-39 of 277 (emphasis added).] While the

endorsement provides that a partner, executive officer, or employee operating a non-

owned auto is afforded coverage, said provision is amended by subsequent language

in Section B.2.2.b.

      Again, the Subject Vehicle driven by Mr. Harr at the time of the accident was

owned individually by Mrs. Harr. [See Exh. 5, Resp. to Req. for Admis. No. 7.]



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Further, the USAA personal auto policy insuring the Subject Vehicle shows that the

Subject Vehicle was scheduled in and garaged at the mutual residence of Mr. and

Mrs. Harr. [See Exh. 4, Resps. to Reqs. for Produc. of Docs. 1-2, 4; see also Exh.

4(A); see also Exh. 2(A-B).] These facts are consistent with Mr. McKenzie’s

allegations in Counts I-II of the Underlying Lawsuit, and most particularly those of

Count II that the vehicle was being used for a family purpose by a member of the

same household as the other, and on their face exclude coverage under Section

B.2.2.b. of the Hired Auto & Non-Owned Auto Liability Endorsement. Regardless,

discovery has borne out further information that supports these allegations.

      Mr. Harr is an incorporator of DOH and thus a partner or executive officer of

same. [Exh. 6(A).] Further, the Subject Vehicle he was operating at the time of the

Underlying Accident is owned by Mrs. Harr. [See Exh. 5, Resp. to Req. for Admis.

No. 7.] Further, both Mr. and Mrs. Harr reside together at 3571 Haddon Hall Drive,

Buford, Georgia 30519-7304. [See Exh. 2(F), p. 258 of 277; Exh. 4(A); Exh. 6(F-

L).] Accordingly, because at the time of the Underlying Accident, as Mr. Harr was

a partner or executive officer of DOH operating a vehicle owned by a member of his

household, Section B.2.2.b. of the Hired Auto & Non-Owned Auto Liability

Endorsement excludes coverage to Mr. Harr as an “Insured” under the NorGUARD

Policy.




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         E. Limitation of Coverage to Designated Premises Endorsement: Section
            A.(1).(a).(i). Excludes Coverage for Accident Not on Premises.

         Fourth, because the Underlying Accident did not occur on the scheduled

Premises, 7363 Spout Springs Rd Ste 205A, Flowery Branch, Georgia 30542-5563,

there is no coverage afforded for it under Section A.(1).(a).(i). of the Limitation of

Coverage to Designated Premises, Project or Operation, which provides in pertinent

part:

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ
                           IT CAREFULLY.
          LIMITATION OF COVERAGE TO DESIGNATED PREMISES,
                       PROJECT OR OPERATION

               This endorsement modifies insurance provided under the
               following:

                      BUSINESSOWNERS COVERAGE FORM
                                SCHEDULE

           A. Premises:
                       7363 Spout Springs Rd Ste 205A, Flowery Branch,
                       GA 30542-5563
           B. Project Or Operation:


           Information required to complete this Schedule, if not shown
           above, will be shown in the Declarations.

          Section II – Liability is amended as follows:

          A. Paragraph A.1.b.(1) is replaced by the following:

                   (1) To “bodily injury” and “property damage” caused by an
                       “occurrence” that takes place in the “coverage territory”
                       only if:



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                    (a) The “bodily injury” or “property damage”:

                        (i) Occurs on the premises shown in the Schedule
                            or the grounds and structures appurtenant to
                            those premises; or

                        (ii) Arises out of the project or operation shown in the
                             Schedule . . . .
[Exh. 1; see also Exh. 2(C), pp. 140-41 of 277 (emphasis added).]

      As stated above, the “Premises” is defined as “7363 Spout Springs Rd Ste

205A, Flowery Branch, GA 30542-5563,” and Section II.A.1.b.(1)(a)(i) requires that

coverage is only afforded to an accident that “occurs on the premises shown in the

Schedule or the grounds and structures appurtenant to those premises . . . .” [Id. at

p. 140 of 277.] The Underlying Accident did not occur on the Premises, but in the

westbound lane of Tuggle Road, approximately one-half (1/2) mile east of Hamilton

Mill Road in Gwinnett County, Georgia. This is approximately four (4) miles from

the Scheduled Premises. [Exh. 2(E); R. Doc. 1, pp. 258-267 of 277.] Accordingly,

because the Underlying Accident did not occur on the Premises, Section A.(1).(a).(i).

of the Limitation of Coverage to Designated Premises, Project or Operation excludes

coverage for the Underlying Accident under the NorGUARD Policy.

      F. Limitation of Coverage to Designated Premises Endorsement: Section
         A.(1).(a).(ii). Does Not Apply.

      Fifth, the “Project Or Operation” coverage part is of no moment as it is not

applicable to DOH’s business as a restaurant. Rather, a Project or Operation

coverage is a project-specific insurance policy that is typically required for specific


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industry projects such as construction, engineering, and other large-scale projects

where unique risks are involved, and specific insurance coverage is needed to protect

businesses from those risks. Again, Section A.(1).(a).(ii). of the Limitation of

Coverage to Designated Premises, Project or Operation, which provides in pertinent

part:

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ
                           IT CAREFULLY.
          LIMITATION OF COVERAGE TO DESIGNATED PREMISES,
                       PROJECT OR OPERATION

               This endorsement modifies insurance provided under the
               following:

                      BUSINESSOWNERS COVERAGE FORM
                                SCHEDULE

           A. Premises:
                       7363 Spout Springs Rd Ste 205A, Flowery Branch,
                       GA 30542-5563
           B. Project Or Operation:


           Information required to complete this Schedule, if not shown
           above, will be shown in the Declarations.

          Section II – Liability is amended as follows:

          A. Paragraph A.1.b.(1) is replaced by the following:

                   (1) To “bodily injury” and “property damage” caused by an
                       “occurrence” that takes place in the “coverage territory”
                       only if:

                       (a) The “bodily injury” or “property damage”:

                           (i) Occurs on the premises shown in the Schedule or


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                          the grounds and structures appurtenant to those
                          premises; or

                       (ii) Arises out of the project or operation shown in
                            the Schedule . . . .
[Exh. 1; see also Exh. 2(C), pp. 140-41 of 277 (emphasis added).]

      The International Risk Management Institute, Inc. (IRMI) classifies “Project

liability insurance is a form of architects and engineers (A&E) liability coverage in

which coverage applies only to an insured’s work on a single project rather than to

the entire scope of an insured’s practice.”1 “Such policies are advantageous because

they provide coverage for all members of a project’s design team, reduce the

incidence of disputes in the event of a claim, ensure coverage continuity following

completion of work, and facilitate the availability of high limits needed on large

projects.”2

      The instant Policy does not encompass a construction project, and as such,

neither the Declarations, nor the Schedule in the endorsement indicates the location

of a covered project. Further Project or Operations coverage is a separate coverage

type and does not encompass “operations” as defined in the policy under Section

I.H.8, which provides: “‘Operations’ means your business activities occurring at the

described premises.” [Exh. 1; see also Exh. 2(C), p. 217 of 277.]

1
        “Project    Liability     Insurance,”       IRMI,         available         at:
https://www.irmi.com/term/insurance-definitions/project-liability-insurance
(accessed December 22, 2024).
2
  Id.

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      Accordingly, because the Project Or Operation coverage part does not apply

to DOH, Inc., Section A.(1).(a).(ii). of the Limitation of Coverage to Designated

Premises, Project or Operation excludes coverage for the Underlying Accident under

the NorGUARD Policy.

      G. Limitation of Coverage in Liquor Liability Endorsement: Section
         B.2.c. Excludes Coverage for Accident Due to Other Insurance.

      Sixth, because other insurance is available for the Underlying Accident, the

Liquor Liability Coverage Endorsement excludes coverage.           Specifically, the

Georgia Motor Vehicle Crash Report, Agency Case Number GP230068318,

indicates that Mrs. Harr’s vehicle was insured by USAA, under Policy Number:

015728612 C 071. [R. Doc. 1, p. 258.] Said Endorsement provides in pertinent part:

                          LIQUOR LIABILITY COVERAGE

      This endorsement modifies insurance provided under the following:

      BUSINESSOWNERS COVERAGE FORM

      ....

      Section II – Liability is amended as follows:

      A.     The insurance provided under Paragraph A.1. Business Liability
             also applies to all “bodily injury” or “property damage” arising
             out of the selling, serving or furnishing of alcoholic beverages.

      B.     For the insurance provided by this endorsement only, Paragraph
             B. Exclusions is amended as follows:

             1. Paragraph 1. Applicable To Business Liability Coverages,
                other than Exclusions a. Expected Or Intended Injury, d.
                Workers’ Compensation And Similar Laws and e.


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                Employer’s Liability, does not apply.

             2. The following exclusions are added:

                This insurance does not apply to:

                ....

                c. Any “bodily injury” or “property damage” with
                   respect to which other insurance is afforded, or would
                   be afforded but for the exhaustion of the Limits of
                   Insurance.

                   This exclusion does not apply if the other insurance
                   responds to liability for “bodily in- jury” or “property
                   damage” imposed on the insured by reason of the selling,
                   serving or furnishing of any alcoholic beverage.

                       ....

[Exh. 1; see also Exh. 2(C), pp. 143-44 of 277 (emphasis added).]

      Plaintiff received the Declarations page from Defendants via discovery. [See

Exh. 4, Resps. to Reqs. for Produc. of Docs. 1-2, 4; see also Exh. 4(A); see also Exh.

2(A-B).] Upon review of same, said policy clearly states that Jill E. Harr is the

Named Insured and lists the Subject Vehicle as Vehicle 02 in the schedule. As such,

the Subject Vehicle is insured by other insurance, which has not been exhausted, and

is available to Mr. McKenzie for his alleged damages. However, even if said policy

were exhausted, the exclusion under Section B.2.c. in the Liquor Liability

Endorsement would still apply. Additionally, USAA has not informed NorGUARD

that it would provide coverage to DOH, Inc. for any of the alleged damages resulting

from the Underlying Accident, and no evidence to the contrary has been supplied by


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Defendants.

      Accordingly, because other, unexhausted insurance is available to

Mr. McKinzie for the damages sought to be claimed against DOH, Inc., Section

B.2.c. of the Limitation of Coverage in Liquor Liability Endorsement excludes

Coverage for the Underlying Accident.

      H. Liquor Liability Coverage Endorsement: Adverse Inference for Lack
         of Respondeat Superior Excludes Coverage per the Georgia Dram
         Shop Act

      Seventh and last, because respondeat superior does not apply to the

employment relationship between Mr. Harr and DOH, if any, the Georgia Dram

Shop Act (the “GDSA”) does not allow Mr. McKenzie. to pursue a cause of action

against DOH. See Ga. Code § 51-1-40. The GDSA provides, in pertinent part:

      (a) The General Assembly finds and declares that the consumption of
      alcoholic beverages, rather than the sale or furnishing or serving of such
      beverages, is the proximate cause of any injury, including death and
      property damage, inflicted by an intoxicated person upon himself or
      upon another person, except as otherwise provided in subsection (b) of
      this Code section.

      (b) A person who sells, furnishes, or serves alcoholic beverages to a
      person of lawful drinking age shall not thereby become liable for injury,
      death, or damage caused by or resulting from the intoxication of such
      person, including injury or death to other persons; provided, however,
      a person . . . who knowingly sells, furnishes, or serves alcoholic
      beverages to a person who is in a state of noticeable intoxication,
      knowing that such person will soon be driving a motor vehicle, may
      become liable for injury or damage caused by or resulting from the
      intoxication of such minor or person when the sale, furnishing, or
      serving is the proximate cause of such injury or damage. Nothing
      contained in this Code section shall authorize the consumer of any


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      alcoholic beverage to recover from the provider of such alcoholic
      beverage for injuries or damages suffered by the consumer.

      ....

Id. (emphasis added).

      The allegations by Mr. McKenzie that Mr. Harr allegedly imbibed alcoholic

beverages at Johnny’s Pizza prior to the Underlying Accident rise to the level of a

tacit admission due to Mr. Harr’s invocation of his Fifth Amendment right against

self-incrimination and the adverse inference that results therefrom.         The Fifth

Amendment to the United States Constitution provides, in pertinent part: “No person

shall . . . be compelled in any criminal case to be a witness against himself, nor be

deprived of life, liberty, or property, without due process of law . . . .” However, the

Supreme Court has held that “consistent with the prevailing rule that the Fifth

Amendment does not forbid adverse inferences against parties to civil actions when

they refuse to testify in response to probative evidence offered against them: the

Amendment “does not preclude the inference where the privilege is claimed by a

party to a Civil cause.” Baxter v. Palmigiano, 425 U.S. 308, 318, 96 S. Ct. 1551,

1558, 47 L. Ed. 2d 810 (1976). In that vein, Mr. Harr, when asked to admit or deny

the following Requests for Admission, invoked his right against self-incrimination

pursuant to the Fifth Amendment to the United States Constitution; Article I, Section

I, Paragraph XVI of the Georgia Constitution; and O.C.G.A.§ 24-5-505(a), 24-5-

506(a), to each of the following:


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      When asked to “Admit or deny that the Defendant, JEFFERY S.
      HARR, served himself one or more alcoholic beverages on September
      1, 2023.”

[Exh. 5, Resp. to Req. for Admis. No. 13.]

      When asked to “Admit or deny that the Defendant’s, JEFFERY S.
      HARR, did not provide monetary compensation to the restaurant
      operated by Defendant, DOH, INC., for the alcoholic beverages
      referenced in Request for Admission No. 13.”

[Exh. 5, Resp. to Req. for Admis. No. 14.]

      When asked to “Admit or deny that the Defendant’s, JEFFERY S.
      HARR, served himself one or more alcoholic beverages on September
      2, 2023.”

[Exh. 5, Resp. to Req. for Admis. No. 15.]

      When asked to “Admit or deny that the Defendant, JEFFERY S.
      HARR, imbibed more than two (2) alcoholic beverages within the
      twenty-four (24) preceding the accident at issue in this litigation.”

[Exh. 5, Resp. to Req. for Admis. No. 17.] Accordingly, pursuant to the Supreme

Court’s holding in Baxter, Plaintiff is entitled to an adverse inference that each of

these is an admitted fact. Taking these facts as true, we must turn to whether DOH

had actual knowledge that would subject it to liability pursuant to the GDSA.

      Because Johnny’s Pizza is a juridical person, it can only acquire knowledge

via its agents and employees when the relationship between them is subject to

respondeat superior. As such, respondeat superior must apply to the employee(s)

acting on behalf of a duly-licensed restaurant for the actual knowledge requirement




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of the GDSA to be imputed to the licensed restaurant/employer. That is not the case

here.

        As stated above, respondeat superior only attaches when 1) the servant is

acting in furtherance of the master’s business; and 2) when he is acting within the

scope of his master’s business. See Piedmont Hospital, Inc. v. Palladino, 276 Ga.

612, 613, 580 S.E.2d 215 (2003). Based upon the adverse inference standard of

Baxter, Mr. Harr was not patronizing DOH by providing monetary compensation for

alcohol served by a staff member. Rather, he was an owner of said business serving

himself without any benefit to DOH or any person other than himself.

        “‘Two elements must be present to render a master liable [under
        respondeat superior]: first, the servant must be in furtherance of the
        master’s business; and, second, he must be acting within the scope of
        his master’s business.’” Piedmont Hospital, Inc. v. Palladino, 276 Ga.
        612, 613, 580 S.E.2d 215 (2003) (citation omitted). See also Doe v.
        Saint Joseph’s Catholic Church, 313 Ga. 558, 565, 870 S.E.2d 365
        (2022) (quoting the test set forth in Palladino); Quynn v. Hulsey, 310
        Ga. 473, 474 n.2, 850 S.E.2d 725 (2020) (“Under the doctrine of
        respondeat superior, ‘[w]hen a servant causes an injury to another, the
        test to determine if the master is liable is whether or not the servant was
        at the time of the injury acting within the scope of his employment and
        on the business of the master.’”) (quoting Hicks v. Heard, 286 Ga. 864,
        865, 692 S.E.2d 360 (2010)). In other words, the doctrine of respondeat
        superior holds an employer liable for the negligent or intentional torts
        of its employee when “ ‘the tort was done within the scope of the actual
        transaction of the [employer’s] business for accomplishing the ends of
        his employment.’” Johnson Street Properties, LLC v. Clure, 302 Ga.
        51, 55, 805 S.E.2d 60 (2017).”

Prodigies Child Care Mgmt., LLC v. Cotton, 317 Ga. 371, 377, 893 S.E.2d 640, 646

(2023) (emphasis added). In this case, Mr. Harr was neither acting in furtherance of

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DOH’s business, nor was he acting in the course and scope of his employment with

DOH.

       As to the first element of being “in furtherance of the master’s business,” DOH

d/b/a Johnny’s Pizza is a restaurant holding Georgia Alcohol License Number

0145257, which permits it to sell food and alcoholic beverages for a profit. [See

Exhs. 5(A), 8.] As Mr. Harr did not serve himself food or beverages for the benefit

of DOH’s business by providing monetary compensation to Johnny’s Pizza, he most

certainly was not furthering DOH’s business by imbibing alcoholic beverages at the

expense of DOH.

       As to the second element of “acting within the course and scope of

employment,” even if an employer-employee relationship existed between DOH and

Mr. Harr, which is disputed, Mr. Harr’s relevant scope of employment would have

been as a server of food and/or alcoholic beverages to patrons. By serving alcohol

to himself, he was outside of the course and scope of his employment, i.e., selling

food and beverages to paying customers for DOH’s profit. Accordingly, because

Mr. Harr at the time he served himself alcoholic beverages, was neither acting in

furtherance of DOH’s business, nor was he within the course and scope of his

employment with same, his actions preclude liability upon DOH under the GDSA.

       Accordingly, because respondeat superior does not apply to the relationship,

if any, between Jeffery S. Harr and DOH, Inc., such that DOH, Inc., is not exposed



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to liability for the allegedly injuries sustained by Jason S. McKenzie, Jr. in the

Underlying Accident. Thus, as liability is precluded by the Georgia Dram Shop Law

such that it excludes coverage for the Underlying Accident under the NorGUARD

Policy.

IV.    CONCLUSION

       In conclusion, there is no coverage available under the NorGUARD Policy

for the Underlying Accident at issue in this case because:

       First, the Subject Vehicle was owned by Mrs. Harr and Driven by Mr. Harr,

both of whom are members of the same household, Section A.1. of the Hired Auto

& Non-Owned Auto Liability Endorsement excludes coverage to the Subject

Vehicle as a “hired auto.”

       Second, Mr. Harr was admittedly traveling from the Premises directly to his

home, respondeat superior does not apply such that Section A.2. of the Hired Auto

& Non-Owned Auto Liability Endorsement excludes coverage to the Subject

Vehicle as a “non-owned auto.”

       Third, at the time of the Underlying Accident, as Mr. Harr was a partner or

executive officer of DOH operating a vehicle owned by a member of his household,

Section B.2.2.b. of the Hired Auto & Non-Owned Auto Liability Endorsement

excludes coverage to Mr. Harr as an “Insured.”




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      Fourth, the Underlying Accident did not occur on the Premises, Section

A.(1).(a).(i). of the Limitation of Coverage to Designated Premises, Project or

Operation excludes coverage for the Underlying Accident.

      Fifth, the Project Or Operation coverage part does not apply to DOH, Inc.,

Section A.(1).(a).(ii). of the Limitation of Coverage to Designated Premises, Project

or Operation excludes coverage for the Underlying Accident.

      Sixth, other, unexhausted insurance is available to Mr. McKinzie for the

damages sought to be claimed against DOH, Inc., Section B.2.c. of the Limitation of

Coverage in Liquor Liability Endorsement excludes Coverage for the Underlying

Accident.

      Seventh and last, respondeat superior does not apply to the relationship, if any,

between Jeffery S. Harr and DOH, Inc., such that DOH, Inc. is not exposed to

liability for the allegedly injuries sustained by Jason S. McKenzie, Jr. in the

Underlying Accident. Thus, as liability is precluded by the Georgia Dram Shop Law

such that it excludes coverage for the Underlying Accident under the NorGUARD

Policy.


                          This 17th day of March 2025.

                          Respectfully submitted:

                          QUINTAIROS, PRIETO, WOOD, & BOYER, P.A.



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CERTIFICATE OF COMPLIANCE WITH LOCAL RULES AND SERVICE

      In accordance with L.R. 7.1(D), I hereby certify that the foregoing was

prepared in Times New Roman, 14-point font, one of the fonts specified in L.R.

5.1(C). I also hereby certify that I have served the foregoing on opposing counsel

by filing through the Court’s CM/ECF system, which will send electronic notice to

all counsel of record.

                         This 17th day of March 2025.

                         Respectfully submitted:

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